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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS

HEALTH REPUBLIC INSURANCE                      :
COMPANY,                                       :       Case No. 16-259C
                                               :
        Plaintiff,                             :       Judge Davis
                                               :
        v.                                     :
                                               :
THE UNITED STATES OF AMERICA,                  :
                                               :
        Defendant.                             :


             THE UNITED STATES’ UNOPPOSED MOTION TO CONTINUE
                  ORAL ARGUMENT SET FOR JANUARY 28, 2022


        The United States respectfully move the Court to continue the oral argument scheduled for

January 28, 2022, at 11:00am, by thirty (30) days in order to permit the United States and dispute

subclass members Meritus Health Partners and Meritus Mutual Health Partners (“Meritus”) to

complete their discussions regarding a consensual resolution of their respective claims in this case.

If the United States and Meritus can reach an agreement, we anticipate that this agreement would

also resolve the claims pending in Daniels v. United States, No. 19-1499, which is stayed pending

resolution of this case.

        Meritus and Colorado Health Insurance Cooperative, Inc. (“Colorado Health”) do not

oppose this request and agree that a stay or continuance would conserve the parties and the Court’s

resources given the overlapping and related arguments raised in their joint motion to dismiss. The

United States request this relief in good faith, and this request will not prejudice any party or result

in undue delay.
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       The United States further proposes that the parties be permitted to submit a joint status

report in 30 days advising the Court of whether the United States and Meritus had reached a written

agreement or determined that they cannot reach a consensual resolution of their claims.

                                         BACKGROUND

       In February 2016, Health Republic Insurance Company filed this putative class action

seeking payments under section 1342 of the Patient Protection and Affordable Care Act (“ACA”).

Following the Supreme Court’s holding that section 1342 of the ACA “created an obligation” and

that issuers may collect payment in this Court, Maine Cmty. Health Options v. United States, 140

S. Ct. 1308 (2020), the United States and other Class members stipulated to entry of final

judgments regarding claims under section 1342 and the United States’ counterclaims, if any.

Colorado Health and Meritus are the remaining members of the Class with unresolved claims.

       The United States subsequently filed an amended answer and counterclaim against

Colorado Health and Meritus, Docket No. 101, who moved to dismiss the United States’

counterclaim, Docket No. 103. The Court set argument on the motion to dismiss for January 28,

2022, at 11:00am.

                                           ARGUMENT

       “It is well established that every trial court has the power to . . . control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for litigants.’”

Freeman v. United States, 83 Fed. Cl. 530, 532 (2008) (citing Landis v. N. Am. Co., 299 U.S. 248,

254 (1936)). Such power is exercised “within the sound discretion of the trial court.” Id. (citation

and internal punctuation omitted). The Supreme Court has highlighted the conservation of judicial

resources as an important reason for a trial court to delay proceedings in any matter pending before

it. See Landis, 299 U.S. at 254-55; UnionBanCal Corp. & Subsidiaries v. United States, 93 Fed.




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Cl. 166, 167 (2010) (“The orderly course of justice and judicial economy is served when granting

a stay simplifies the ‘issues, proof, and questions of law which could be expected to result from a

stay.’”) (quoting CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962)).

       Here, we believe that the United States and Meritus may be able to resolve their respective

claims if the Court grants the requested continuance. Due to the significant amounts at issue, the

United States and Meritus need additional time to continue their discussions, and if warranted,

obtain necessary approvals memorialize their agreement in writing. If those discussions are

successful, we anticipate that the resulting settlement would also resolve the claims between the

United States and Meritus in Daniels v. United States, No. 19-1499, which is pending in this Court

and already stayed until this case is resolved.

       The requested continuance is also warranted because the pending motion to dismiss

includes overlapping and related issues involving Colorado Health and Meritus . For that reason,

Colorado Health does not oppose a brief stay to permit the United States and Meritus to complete

those discussions. The parties propose that a joint status report be submitted in 30 days advising

the Court of whether the United States and Meritus had reached a written agreement or determined

that they cannot reach a consensual resolution of their claims.

       For these reasons, the United States respectfully request that the Court continue the

argument set for January 28, 2022, in order to permit the United States and Meritus to continue

their discussions regarding a consensual resolution of their respective claims.




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Dated: January 21, 202              Respectfully submitted,

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